                          Case 2:24-cv-01459-TJS   Document
                                              UNITED          1-2 COURT
                                                     STATES DISTRICT Filed 04/08/24                                                 Page 1 of 1
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)
                              5805 Yorkana Road, York, PA 17406
Address of Plaintiff: ______________________________________________________________________________________________
                       100 E. Penn Square, Philadelphia, PA 19107
Address of Defendant: ____________________________________________________________________________________________
                                                           100 E. Penn Square, Philadelphia, PA 19107
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                   Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                       Yes                    No
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                      Yes                    No
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                         Yes                    No
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                      Yes                    No
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /      is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
               4-8-24
DATE: __________________________________                     __________________________________________                     ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                       1.   Insurance Contract and Other Contracts
       2.     FELA                                                                               2.   Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                          3.   Assault, Defamation
       4.     Antitrust                                                                          4.   Marine Personal Injury
       5.     Patent                                                                             5.   Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                         6.   Other Personal Injury (Please specify): _____________________
       7.     Civil Rights                                                                       7.   Products Liability
       8.     Habeas Corpus                                                                      8.   Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                            9.   All other Diversity Cases
       10.    Social Security Review Cases                                                            (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                          ARBITRATION CERTIFICATION
                                                  (

I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


                4-8-24
DATE: __________________________________                     __________________________________________                     ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 ( /2018)
